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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

AMBER ROBINSON,
                                              Case No.: 23-cv-11786
                Plaintiff,
                                              District Judge Judith E. Levy
v
                                              Magistrate Judge Elizabeth A. Stafford
WIZARDS OF THE COAST.

          Defendant.
_____________________________/


                         ANSWER TO COMPLAINT
                  AND AFFIRMATIVE AND OTHER DEFENSES

        Defendant, WIZARDS OF THE COAST, (“Wizards” or “Defendant”) states

the following for its Answer and Affirmative and Other Defenses to Plaintiff’s

Complaint:

        1.      Defendant admits that Plaintiff took a Family and Medical Leave Act

(“FMLA”) qualifying leave of absence. Defendant denies the remaining allegations

contained in Paragraph 1 of the Complaint.

        2.      Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 2 of the Complaint and

therefore leaves Plaintiff to her proofs.

        3.      Defendant denies the allegations contained in Paragraph 3 of the

Complaint.

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        4.      Defendant admits that Plaintiff’s Complaint asserts a claim under the

FMLA and that this Court has subject matter jurisdiction. Defendant denies that it

is liable to Plaintiff under the FMLA or any other reason.

        5.      Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 5 of the Complaint and

therefore leaves Plaintiff to her proofs.

        6.      Defendant admits that venue is proper int the United States District

Court for the Eastern District of Michigan, but denies that it is liable to Plaintiff

under the FMLA or any other reason.

                            FACTUAL ALLEGATIONS

        7.      Defendant incorporates the preceding paragraphs by reference as if

fully restated herein.

        8.      Defendant admits that it employed Plaintiff and that her compensation

package comprised of a salary of $88,000.12, a variable, discretionary 15% annual

bonus, subject to individual and company performance, and welfare and retirement

benefits. Defendant denies the remaining allegations contained in Paragraph 8 of the

Complaint.

        9.      Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 9 of the Complaint and

therefore leaves Plaintiff to her proofs.


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        10.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 10 of the Complaint and

therefore leaves Plaintiff to her proofs.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits that Plaintiff received a performance review that

reflected her previous and ongoing poor performance, in March 2023. Defendant

denies the remaining allegations contained in Paragraph 12 of the Complaint.

        13.     Defendant denies that Plaintiff received a performance review from it

prior to March 2023.

        14.     Defendant admits that Plaintiff was given the election of participating

in a Performance Improvement Plan or termination and that Plaintiff elected

termination. Defendant further admits that Plaintiff was to be offered a severance

package as part of the employment action she selected. Defendant denies the

remaining allegations contained in the Complaint.

        15.     Defendant admits that Paragraph 15 of the Complaint accurately

quotes a portion of an Instant Message that occurred on April 4, 2023, but denies

any liability to Plaintiff whatsoever.

        16.     Defendant denies the allegations contained in Paragraph 16 of the

Complaint.




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        17.     Defendant admits that Paragraph 17 of the Complaint accurately

quotes a portion of an Instant Message that occurred on April 5, 2023, but denies

any liability to Plaintiff whatsoever.

        18.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 18 of the Complaint and

therefore leaves Plaintiff to her proofs.

        19.     Defendant admits that Paragraph 19 of the Complaint accurately

quotes a portion of an email that occurred on April 7, 2023, but denies any liability

to Plaintiff whatsoever.

        20.     Defendant denies the allegations contained in Paragraph 20 of the

Complaint.

        21.     Defendant admits the allegations contained in Paragraph 21 of the

Complaint.

        22.     Defendant denies the allegations contained in Paragraph 22 of the

Complaint.

        23.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in Paragraph 23 of the Complaint, and

therefore leaves Plaintiff to her proofs.

        24.     Defendant admits the allegations contained in Paragraph 24 of the

Complaint.


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        25.     Defendant denies the characterization that Defendant “failed” to

respond to Plaintiff and goes on to state that Defendant did not response to

Plaintiff’s email, as no response was necessary.

        26.     Defendant admits that on June 26, 2023 Plaintiff sent an Instant

Message to Ms. Crooks in which she stated she would be returning to work the

following morning and that Ms. Crooks responded, in part, with an Instant

Message that read “welcome back.” Defendant denies the remaining allegations

contained in Paragraph 26 of the Complaint.

        27.     Defendant admits that on June 27, in response to an Instant Message

from Plaintiff that inquired as to what she would be working on upon her return to

work, Ms. Crooks sent an Instant Message to Plaintiff that read, in part, “you’re an

active employee” and instructed her to contact her manager as to what she “should

be working on.” Defendant denies the remaining allegations contained in

Paragraph 27 of the Complaint.

        28.     Defendant denies the allegations contained in Paragraph 28 of the

Complaint.

        29.     Defendant denies the allegations contained in Paragraph 29 of the

Complaint.

        30.     Defendant admits the allegations in Paragraph 30 of the Complaint.

        31.     Defendant admits the allegations in Paragraph 31 of the Complaint.


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        32.     Defendant admits that it did not offer Plaintiff reinstatement because

prior to July 26, 2023 Plaintiff had not been terminated. Defendant denies the

remaining allegations contained in Paragraph 32 of the Complaint.

        33.     Defendant admits that it sent Plaintiff an email dated July 17 that

recounted that Plaintiff had returned to work from her leave and actively

participated in meetings, but ceased reporting to work after July 11, 2023.

Defendant further admits that the July 17 email informed Plaintiff that if she did

not respond to the email by July 25, 2023, the Defendant would consider her lack

of a response to be her resignation. Defendant denies the remaining allegations

contained in the Complaint.

        34.     Defendant denies the allegations contained in Paragraph 34 of the

Complaint.

        35.     Defendant denies the allegations contained in Paragraph 35 of the

Complaint.

        36.     Defendant admits that it did not offer Plaintiff reinstatement, since

Plaintiff had never been terminated. Defendant denies the remaining allegations

contained in Paragraph 36 of the Complaint.

        37.     Defendant denies the allegations contained in Paragraph 37 of the

Complaint.




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        38.     Defendant denies the allegations contained in Paragraph 38 of the

Complaint.

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        39.     Defendant incorporates the preceding paragraphs by reference as if

fully restated herein.

        40.     Defendant admits the allegations contained in Paragraph 40 of the

Complaint.

        41.     Defendant admits the allegations contained in Paragraph 41 of the

Complaint.

        42.     Defendant admits the allegations contained in Paragraph 42 of the

Complaint.

        43.     Defendant admits the allegations contained in Paragraph 43 of the

Complaint.

        44.     Defendant admits the allegations contained in Paragraph 44 of the

Complaint.

        45.     Defendant denies the allegations contained in Paragraph 45 of the

Complaint.

        46.     Defendant denies the allegations contained in Paragraph 46 of the

Complaint.




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        47.     Defendant denies the allegations contained in Paragraph 47 of the

Complaint.

        48.     Defendant denies the allegations contained in Paragraph 48 of the

Complaint.

        49.     Defendant denies the allegations contained in Paragraph 49 of the

Complaint.

        Defendant denies that Plaintiff should be awarded any of the relief she seeks

in her Demand for Relief.

        Wherefore, Defendant asks the Court to dismiss Plaintiff’s Complaint with

prejudice and award it its costs and attorney fees incurred in defending the action.

                     AFFIRMATIVE AND OTHER DEFENSES

        1.      Plaintiff’s Complaint fails to state a claim upon which relief may be

granted.

        2.      Plaintiff’s claims are barred due to her choosing a severance package

in lieu of a Performance Improvement Plan.

        3.      Plaintiff’s claims are barred due to her failure to mitigate, minimize or

avoid her damages, if any.

        4.      Plaintiff’s claims are barred due to her own unclean hands.

        5.      Plaintiff’s is barred from recovering from Wizards because Wizards

did not breach its duties towards Plaintiff.


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        6.      Plaintiff’s claims are barred by the equitable defense of bad faith.

        7.      Wizards affirmatively pleads that at all relevant times it acted with

reasonable care, good faith, and in compliance with its legal responsibilities.

        8.      If Plaintiff suffered any damages or harm, Wizards affirmatively

pleads that such damages are a result of Plaintiff’s own wrongful conduct.

        9.      Wizards affirmatively pleads that the Complaint is wholly

unsubstantial, frivolous, and not advanced in good faith.

        10.     Wizards affirmatively reserves the right to assert additional

affirmative and separate defenses if such arise following discovery and/or other

actions taken within the case.

        Wherefore, Defendant asks the Court to dismiss Plaintiff’s Complaint with

prejudice and award it its costs and attorney fees incurred in defending the action.

                                          Respectfully Submitted,

                                          FISHER & PHILLIPS, LLP

                                          /s/ William E. Altman_____________
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                          CERTIFICATE OF SERVICE

        I hereby certify that on August 28, 2023, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send notification

of such filing to the following: counsel of record. I also hereby certify that I have

mailed by United States Postal Service the paper to the following non-ECF

participants: none.

                                        FISHER & PHILLIPS, LLP

                                        /s/ William E. Altman_____________
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